                            EXHIBIT D




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Annals of Internal Medicine                                                                                                      Review
Narrative Review: The Promotion of Gabapentin: An Analysis of
Internal Industry Documents
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Background: Internal documents from the pharmaceutical industry        by third-party vendors were used to deliver promotional messages.
provide a unique window for understanding the structure and            These tactics were augmented by the recruitment of local champi-
methods of pharmaceutical promotion. Such documents have be-           ons and engagement of thought leaders, who could be used to
come available through litigation concerning the promotion of          communicate favorable messages about gabapentin to their physi-
gabapentin (Neurontin, Pfizer, Inc., New York, New York) for off-      cian colleagues. Research and scholarship were also used for mar-
label uses.                                                            keting by encouraging “key customers” to participate in research,
                                                                       using a large study to advance promotional themes and build
Purpose: To describe how gabapentin was promoted, focusing on          market share, paying medical communication companies to develop
the use of medical education, research, and publication.               and publish articles about gabapentin for the medical literature, and
Data Sources: Court documents available to the public from             planning to suppress unfavorable study results.
United States ex. rel David Franklin vs. Pfizer, Inc., and Parke-      Limitations: Most available documents were submitted by the
Davis, Division of Warner-Lambert Company, mostly from 1994 –          plaintiff and may not represent a complete picture of marketing
1998.                                                                  practices.
Data Extraction: All documents were reviewed by 1 author, with         Conclusion: Activities traditionally considered independent of pro-
selected review by coauthors. Marketing strategies and tactics were    motional intent, including continuing medical education and re-
identified by using an iterative process of review, discussion, and    search, were extensively used to promote gabapentin. New strate-
re-review of selected documents.                                       gies are needed to ensure a clear separation between scientific and
                                                                       commercial activity.
Data Synthesis: The promotion of gabapentin was a comprehen-
sive and multifaceted process. Advisory boards, consultants meet-      Ann Intern Med. 2006;145:284-293.                                  www.annals.org
ings, and accredited continuing medical education events organized     For author affiliations, see end of text.




R    ecent litigation and congressional inquiry have pro-
     vided access to pharmaceutical industry documents
that shed light on the marketing strategies used to promote
                                                                       METHODS
                                                                            We reviewed approximately 8000 pages of publicly
                                                                       available documents regarding the case of United States of
drugs (1). One example is the case of gabapentin (Neuron-              America ex. rel David Franklin vs. Pfizer, Inc., and Parke-
tin, Pfizer, Inc., New York, New York). First approved by              Davis, Division of Warner-Lambert Company. Among doc-
the U.S. Food and Drug Administration (FDA) in late                    uments pertinent to this research, two thirds were created
1993 for adjunctive treatment of partial complex seizures,             between 1994 and 1998 and comprised a mix of internal
by the mid- and late 1990s gabapentin was being widely                 correspondence and reports; programs, presentations, and
used for the off-label treatment of pain syndromes and                 transcripts from activities sponsored by Parke-Davis; and
psychiatric conditions (Figure 1) (2– 4). Although gaba-               correspondence between the drug company and outside
pentin was later approved for the treatment of postherpetic            vendors and physicians. The remaining pertinent docu-
neuralgia, in 2004 the Pfizer subsidiary Warner-Lambert                ments included excerpted depositions of Parke-Davis em-
settled litigation and admitted guilt in connection to                 ployees and court documents. These documents are now
charges that during the 1990s it violated federal regulations          available in a digital archive at http://dida.library.ucsf.edu.
by promoting the drug for pain, psychiatric conditions,                     We reviewed documents using the principles of
migraine, and other unapproved uses (Table 1) (5–7).                   grounded theory, an inductive approach in which source
     Although news articles have described some practices
used to market gabapentin (8, 9), to our knowledge there
has been little systematic investigation of the overall struc-
ture of promotion for this drug. In this paper, we use                    See also:
public documents obtained through litigation to describe
                                                                          Print
how marketing strategies and tactics for gabapentin were
                                                                          Key Summary Points . . . . . . . . . . . . . . . . . . . . . . . 285
developed and used in the mid- and late 1990s. First, we
                                                                          Editorial comment. . . . . . . . . . . . . . . . . . . . . . . . . . 305
describe the overall organization of marketing efforts, and
how certain groups of physicians were targeted as recipients              Web-Only
of and vehicles for promotion. Next, we describe specific                 Appendices
marketing activities, focusing on how education, research,                CME quiz
and other activities not typically considered promotional                 Conversion of figures and tables into slides
were used to achieve marketing goals.
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                                                                 DATA SYNTHESIS
  Key Summary Points                                             Marketing Strategy
  Industry promoted gabapentin for on- and off-label uses              Each year, corporate leadership established broad goals
  as part of a comprehensive marketing plan.                     (“strategies”) for the marketing of gabapentin. Specific pro-
                                                                 grams (“tactics”) were then designed to achieve that year’s
  Frequent prescribers of anticonvulsant agents, opinion         strategic goals (15, 16). For example, planning documents
  leaders, and local champions of gabapentin were specially      for 1998 show a projected $40 million advertising and
  targeted for promotion.
                                                                 promotion budget for gabapentin organized under 4 “top-
                                                                 line strategies,” further divided into a variety of tactical
  Gabapentin was promoted by using education and re-
                                                                 categories (Table 2) (12, 13). Professional education ac-
  search, activities not typically recognized as promotional.
  “Independent” continuing medical education, “peer-to-
                                                                 counted for half to two thirds of the projected promotional
  peer selling” by physician speakers, industry-funded stud-     budgets for 1996 through 1998 (12–14).
  ies, and publications in the medical literature were used to         Parke-Davis identified several groups of physicians for
  advance marketing goals for the drug.                          targeted marketing. One such group was physicians who
                                                                 frequently prescribed anticonvulsant agents, categorized by
                                                                 the dollar value of anticonvulsant prescriptions they had
                                                                 the potential to generate (⬎$300 000 for the highest tier
                                                                 of prescribers) (14, 15, 17–23). Another key group was
material was used to generate ideas rather than to test a        physicians who had the potential to influence gabapentin
preestablished hypothesis (10). All documents underwent          use among their colleagues. This included local champions
primary review by 1 author, with selected review by the          of the drug, who were recruited and trained to serve as
coauthors. First, we cataloged marketing techniques and          speakers in “peer-to-peer selling” programs (19, 24 –26),
identified broad themes about marketing strategy for gaba-       which were noted to be “one of the most effective ways to
pentin. Next, we discussed initial findings and re-reviewed      communicate our message” (19). Another important seg-
pertinent documents in an iterative process to arrive at the     ment was “thought leaders,” “key influencers,” and “mov-
final description and interpretation of marketing tech-          ers and shakers,” influential physicians identified in part by
niques and themes. To better understand the role of indi-
                                                                 their affiliation with major academic medical centers (12,
viduals and organizations discussed in the documents, we
                                                                 13, 18 –20, 24, 26 –28). For example, in 2 documents
obtained supplemental information from the court and
                                                                 Parke-Davis identified 40 potential thought leaders in the
through Internet and PubMed searches.
                                                                 northeastern United States, including 26 current or future
     Most data on payments to physicians and organiza-
                                                                 department chairs, vice chairs, and directors of academic
tions were obtained from a payment register compiled by
                                                                 clinical programs or divisions (24, 27). Of these 40 leaders,
the plaintiff ’s attorneys from documents supplied by
                                                                 35 participated in at least 1 Parke-Davis–sponsored activ-
Parke-Davis (4, 11) and augmented with additional in-
                                                                 ity, including 14 who requested or were allocated $10 250
formation provided to us by those attorneys (for addi-
tional detail on analyses of the payment register, see Ap-
pendix 1, available at www.annals.org). We also used
budget planning documents from 1998 and other years to            Table 1. Timeline*
estimate expenditures for different forms of marketing
(12–14).                                                          Month and Year     Event
     During the period under review, gabapentin was ap-           May 1977           U.S. patent for gabapentin granted to Warner-Lambert.
proved only for the adjunctive treatment of partial seizures      December 1993      FDA approves gabapentin for adjunctive treatment of
in persons older than 12 years of age at dosages up to 1800                            partial complex seizures in patients age ⬎12 y at
                                                                                       dosages ⱕ1800 mg/d. Marketing exclusivity granted
mg/d. Thus, for this review, we considered any other indi-                             to Parke-Davis, a division of Warner-Lambert.
cation to be unapproved. In quotations of documents,              August 1996        Lawsuit filed by former Parke-Davis employee David
                                                                                       Franklin alleging illegal marketing of gabapentin for
items in brackets are our addition and represent our best                              off-label uses; case put under seal (action deferred
interpretation of abbreviations, phrases, and other data.                              pending government review).
     This research was approved by the Research and De-           December 1999      Seal on lawsuit lifted, litigation resumes.
                                                                  June 2000          Warner-Lambert acquired by Pfizer.
velopment Committee of the San Francisco Veterans Af-             October 2000       FDA approves gabapentin for adjunctive treatment of
fairs Medical Center and the Committee on Human Re-                                    partial seizures in children age 3–12 y.
search at the University of California, San Francisco. The        May 2002           FDA approves gabapentin for postherpetic neuralgia (in
                                                                                       adults).
aforementioned archive paid the cost of obtaining and             May 2004           Warner-Lambert admits guilt and agrees to pay $430
photocopying documents used in this research. No outside                               million in relation to criminal and civil liability
                                                                                       regarding the promotion of gabapentin for uses not
source had a role in the mechanisms of document review,                                approved by the FDA.
presentation of results, or decision to submit the manu-
script for publication.                                          * FDA ⫽ U.S. Food and Drug Administration.

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 Figure 1. Prescriptions for gabapentin, by diagnostic category.

                                                                      1000


                                                                      900
                        Prescriptions (in Thousands) per Quarter, n
                                                                      800        Psychiatric disorders
                                                                                 Migraine
                                                                      700        Pain
                                                                                 Other
                                                                      600        Epilepsy*

                                                                      500


                                                                      400


                                                                      300


                                                                      200


                                                                      100


                                                                        0
                                                                         1994   1995           1996         1997           1998      1999         2000

                                                                                                         Year by Quarter


Estimates of diagnosis-linked prescribing provided by Pfizer, Inc. (2– 4). Each diagnosis was assigned to a diagnostic category by the authors. *Adjunctive
treatment of epilepsy in adults older than age 12 years was the only U.S. Food and Drug Administration–approved use of gabapentin during the time
period shown.


to $158 250 in honoraria, research grants, or educational                                                     tor teleconferences in progress. In 1 set of 39 calls organized
grants between 1993 and 1997 (11).                                                                            through a medical education and communications com-
    Parke-Davis also targeted residents; planning docu-                                                       pany to discuss unapproved uses of gabapentin, an agenda
ments for the 1998 advertising and promotion budget                                                           was prepared for physician moderators directing them to
show allocations of $195 000 to $330 000 for “resident                                                        discuss such topics as “how Neurontin evolved into a first
programs,” a video case series, and a “CNS [central ner-                                                      line therapy option in your practice” (35, 36). In another
vous system] residents course” (13). As described in one                                                      series of “psychiatry” teleconferences organized through a
report, efforts with residents could be used “to influence                                                    third-party vendor, senior Parke-Davis employees were in-
physicians from the bottom up” and “to solidify Parke-                                                        vited to participate but told to “instruct the teleconference
Davis’ role in the resident’s mind as he/she evolves into a                                                   operator that you should be in LISTEN ONLY mode and
practicing physician” (24).                                                                                   your name should NOT be announced during introduc-
Tactics                                                                                                       tions” (capital letters in original) (37). Documents suggest
Continuing Medical Education                                                                                  that in some cases moderators were paid $250 to $500 per
     “Medical education drives this market!!” noted the au-                                                   call and had other financial ties to Parke-Davis (11). For
thor of a Parke-Davis business plan (29). Accordingly, ed-                                                    example, each of the 10 moderators from 1 series of calls
ucational activities were used to implement strategic goals                                                   requested or was allocated between $14 800 to $176 100
for gabapentin (12, 30 –32), often through events at which                                                    for participation in various Parke-Davis–sponsored activi-
physician speakers could communicate messages about                                                           ties between 1993 and 1997 (11, 33).
gabapentin directly to their colleagues. Teleconferences                                                           Speakers bureaus and related programs were other
linking paid physician moderators with small groups of                                                        physician-to-physician activities developed to promote
physicians were a method for reaching prescribers. Al-                                                        gabapentin (25, 26, 28, 38). Sales employees were encour-
though these teleconferences were titled as educational                                                       aged to “expand the speaker base—identify and train
events (33), an internal memo about 1 set of 143 telecon-                                                     strong Neurontin advocates and users to speak locally for
ferences on epilepsy management noted that “the key goal                                                      Neurontin” (19). Parke-Davis also organized the Merritt-
of the teleconferences was to increase Neurontin new pre-                                                     Putnam lecture series to improve “public relations within
scriptions by convincing non-prescribers to begin prescrib-                                                   the neurology community, etc., as well as [to impact] the
ing and current prescribers to increase their new prescrip-                                                   volume of Neurontin new prescriptions” (26, 28, 38). The
tion behavior” (34). In some cases, Parke-Davis helped                                                        speakers bureau for this lecture series included chairs of
establish the agenda and was able to surreptitiously moni-                                                    neurology departments and directors of clinical programs
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at major teaching hospitals (11, 39). Members of the speakers                          ning to promote gabapentin (15, 17, 39, 47, 49 –55). Be-
bureau were invited to special meetings, where, in addition                            cause of these relationships, medical education companies
to lectures on the clinical use of gabapentin, they were                               had incentive to develop educational programs that were
updated on promotional strategies for the drug (39, 40).                               consistent with Parke-Davis’s marketing goals and to con-
     Many educational events appear to have been spon-                                 trol content in a way that reflected favorably on the spon-
sored directly by Parke-Davis. However, the company also                               sor (Appendix 2, available at www.annals.org) (56). For
funded educational programs through “unrestricted educa-                               example, in 1996, one medical education company pre-
tional grants” to medical education and communications                                 pared a marketing proposal for Parke-Davis outlining 24
companies (hereafter termed “medical education companies”),                            tactics to increase gabapentin use shortly after using an
for-profit businesses that specialize in producing conferences                         unrestricted grant from the drug company to organize a
for physicians on behalf of pharmaceutical manufacturers and                           series of study programs on the use of antiepileptic agents
are often subsidiaries of marketing firms (41– 44). Under                              for chronic pain (49, 57–59). Although the educational pro-
this “unrestricted” arrangement, Parke-Davis officially re-                            gram prepared by this company was accredited by ACCME,
linquished control over program speakers and content.                                  Parke-Davis representatives were invited to a curricular de-
This allowed programs organized by medical education                                   velopment meeting (59), recruited physicians to participate
companies to discuss unapproved uses of gabapentin and                                 in the course (60), and followed attendance counts at each
to grant continuing medical education credit from the Ac-                              program meeting (57). These actions were consistent with
creditation Council of Continuing Medical Education                                    a Parke-Davis report that described the program as a tactic
(ACCME), neither of which is permissible for events di-                                to support “growth opportunity” in off-label use (32). In
rectly sponsored by drug companies (45– 48).                                           another case, another medical education company that or-
     However, these same medical education companies                                   ganized consultants meetings for Parke-Davis received a
also worked for Parke-Davis in several other roles, such as                            grant to assemble and train speakers to deliver grand
organizing teleconferences, coordinating advisory boards                               rounds lectures on anticonvulsant use in nonepileptic con-
and consultants meetings, and conducting tactical plan-                                ditions at approximately 70 community and teaching hos-


  Table 2. Draft Advertising and Promotion Budget for Gabapentin for 1998, by Strategy and Tactical Category*

  Tactical Categories, with                                                 Budget, in Thousands of Dollars‡                                           Total Budget in
  Examples†                                                                                                                                            Thousands of
                                          Expand Neurontin         Conduct Targeted        Develop and Leverage         Maximize Opportunities         Dollars
                                          Use in Epilepsy          Promotional/CME         Thought Leader               in “Emerging
                                          Monotherapy              Efforts on              Support                      [Unapproved] Uses”
                                                                   High-Prescribing
                                                                   Physicians
  CBU/SPE                                   5300                   1500                    1600                              0                          8400
  Professional education (e.g.,             6229                      0                    1842                         11 039                         19 110
    speakers bureau, advisory
    boards, dinner meetings)
  National speaker (e.g., physician         2110                    500                     550                               0                          3160
    honoraria and travel, speaker
    programs)
  Direct mail                                900                      0                       0                               0                           900
  Professional promotional literature       2240                    100                     620                               0                          2960
    (e.g., convention giveaways,
    patient brochures)
  Medical journal (e.g., journal            1200                       0                       0                              0                          1200
    advertising)
  Gratis merchandise (e.g., patient          700                    100                       50                              0                           850
    assistance programs)
  Samples                                    800                    300                     100                               0                          1200
  Displays, agency fees, pack/ship,         1570                    150                       0                               0                          1720
    miscellaneous (e.g., convention
    displays)
  Market research                            400                      0                       0                            100                            500
       Total                              21 449                   2650                    4762                         11 139                         40 000

* The meaning of the term “CBU/SPE” is unclear, although “CBU” typically refers to “customer business unit,” regional divisions of Parke-Davis. CME ⫽ continuing
medical education.
† Tactical categories are listed as they appear in the source document (12). Examples were taken from line items in budget planning documents assigned to each category,
although no specific examples were available for certain categories.
‡ Strategies were listed in budget planning documents as follows (12, 13): 1) “Expand Neurontin use in epilepsy through the introduction of monotherapy”—Parke-Davis
had expected U.S. Food and Drug Administration approval for gabapentin as monotherapy for epilepsy, but the application was rejected; 2) “Conduct targeted promotional/
CME efforts on high decile Neurologists & PCPs [primary care physicians] to increase their overall Neurontin usage”; 3) “Continue to develop and leverage thought leader
support throughout the community to maintain our leadership position and achieve our business potential”; 4) “To maximize opportunities in the ‘emerging [unapproved]
uses’ through clinical trials, publications, and educational events.”

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pitals across the northeastern United States (51, 61).                 tablish presentation content and make the appropriate
Parke-Davis also sought to provide unrestricted educa-                 changes and/or recruit an alternate speaker” (56).
tional grants to locally organized symposia at which it ex-
pected gabapentin to be favorably discussed (62). One                  Research Strategy and Publication
memo recommended the following: “Assist in the organi-                      Research and publications on gabapentin served as key
zation of a [major university hospital’s] pain sympo-                  elements in the marketing strategy for the drug (26). For
sium . . . .We will probably write them an unrestricted ed-            some clinical uses, such as monotherapy for epilepsy, re-
ucational grant to help fund the project. In return, they              search was used to support the company’s attempt to ob-
will discuss the role of Neurontin in neuropathic pain,                tain FDA approval for a new “on-label” indication. How-
among other topics. They do have a very favorable outlook              ever, in other cases Parke-Davis employed a “publication
toward Neurontin” (63).                                                strategy,” the goal of which was to use research not as a
     Unrestricted grants were used to underwrite other                 means to gain FDA approval for new indications but “to
forms of education, including payments to physicians to                disseminate the information as widely as possible through
cover the cost of attending conferences (64). Another grant            the world’s medical literature” (77), generating excitement
exceeding $300 000 funded the production, printing, and                in the market and stimulating off-label prescribing despite
distribution of 75 000 copies of an epilepsy handbook,                 the lack of FDA approval (78, 79). This strategy focused
with half of this budget allocated to soliciting interest              primarily on expanding gabapentin use in neuropathic
among and delivering books to high prescribers of anticon-             pain and bipolar disorders, for which detailed decision
vulsant agents (65).                                                   analyses projected the greatest revenue potential (80 – 83).
                                                                            The success of this strategy depended in part on pub-
Advisory Boards and Consultants Meetings                               lications being favorable to gabapentin. Some employees of
     The stated purpose of advisory boards and consultants             Parke-Davis felt an obligation to publish studies with un-
meetings was to solicit feedback from physician partici-               favorable results (80, 84), and in a number of instances
pants (47, 66). This objective was met at meetings where               such results were published (85– 87). However, manage-
feedback was requested on clinical trial design (53, 67, 68),          ment expressed concern that negative results could harm
educational curriculum development (50, 67), and market-               promotional efforts (88), and several documents indicate
ing strategies for gabapentin (14, 54, 67– 69). However,               the intention to publish and publicize results only if they
other aspects of meetings were conducted in a manner                   reflected favorably on gabapentin (78, 79). As stated in a
more suggestive of promotional intent. For example, at-                marketing assessment, “The results of the recommended
tendees at one consultants meeting were invited largely                exploratory trials in neuropathic pain, if positive, will be
because of their high rates of anticonvulsant prescribing              publicized in medical congresses and published” (italics
(17), and sales representatives were given “trending work-             added) (78). Similarly, in discussing 2 nearly identical trials
sheets” to track prescribing behavior before and after the             that yielded conflicting results on gabapentin as seizure
event (70); at the meeting, “participants were delivered a             monotherapy, the “core marketing team” concluded that
hard-hitting message about Neurontin” (71). Some meet-                 “the results of [the negative trial] will not be published”
ings resembled educational conferences, with dozens of                 (89). (The positive trial was published [90], but we could
participants and an agenda dominated by lectures from                  not locate the negative trial on a PubMed search.)
physician “faculty” (17, 52, 71–73). Other meetings                         Beyond publishing its own clinical trials, Parke-Davis
seemed to focus on cultivating relationships with thought              expanded the literature on gabapentin by contracting with
leaders (26, 69), as in one meeting at which lecture notes             medical education companies to develop review papers,
for the regional business director notified attendees that             original articles, and letters to the editor about gabapentin
“we would like to develop a close business relationship                for $13 375 to $18 000 per article, including a $1000 hon-
with you” (69).                                                        orarium for the physician or pharmacist author (91–98).
     Participants in advisory boards and consultants meet-             For example, one “grant request” from a medical education
ings received honoraria in addition to paid travel, lodging,           company to Parke-Davis proposed a series of 12 articles,
and amenities at the resorts and luxury hotels at which                each with a prespecified topic, target journal, title, and list
such events were held (51, 52, 71–76). In addition, a num-             of potential authors (to be “chosen at the discretion of
ber of faculty at these events received thousands of dollars           Parke-Davis”) (96). This proposal noted that “all articles
in honoraria and grants from participating in these and                submitted will include a consistent message . . . with par-
other Parke-Davis activities (11, 52, 71, 73). These faculty           ticular interest in proper dosing and titration as well as
may have been carefully vetted. As described by a medical              emerging [off-label] uses,” mirroring Parke-Davis promo-
education company that organized meetings, “it is [our]                tional goals for the drug (96). In this case Parke-Davis
policy to complete a literature search to determine who                requested that authors prepare articles and submit them for
authors favorable articles on the topics outlined” (56). In            peer review (92, 96). However, in another instance the
addition, the company reserved the right in nonaccredited              medical education company offered substantial assistance
programs “to probe the faculty further to definitively es-             in the development of manuscripts, reporting in a status
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report that “at [the author’s] request, we did an extensive                                 Engaging physicians in the research process had poten-
literature search and submitted selected articles to him for                          tial benefits for Parke-Davis beyond the publications them-
reference . . . . We have offered him help in identifying and                         selves, providing an opportunity to engage thought leaders,
collecting his appropriate cases, analyzing data, writing a                           reward key physician customers, or influence prescribing
manuscript, or whatever he needs” (91). Among 7 pub-                                  (20, 50, 67, 106 –108). Marketing strategy documents
lished articles that we matched to sponsorship by a medical                           stated that “the list of key influencers should be . . . kept
education company, 4 had favorable conclusions about                                  aware of the availability of research opportunities in clinical
gabapentin (99 –102), and the other 3 adopted a neutral                               trials” (24) and recommended the “funding of smaller
tone (103–105). Article sponsorship was often not dis-                                studies . . . with our key customers for investigation of
closed, with 6 of 7 articles not acknowledging receipt of an                          Neurontin and pain” (29). Among the 40 thought leaders
honorarium from the medical education company (al-                                    described, 5 requested or were allocated research funding
though 1 of these acknowledged support from Parke-                                    ranging from $32 000 to $75 000 per person (11, 24, 27).
Davis) (99 –105). In 5 of 7 articles, the author identified                                 One notable example of the confluence between pro-
by the medical education company had received funds                                   motion and research was STEPS (Study of Neurontin:
from Parke-Davis for speaking engagements, consultants                                Titration to Effectiveness and Profile of Safety), an un-
meetings, or other activities (11).                                                   controlled open-label study in which physicians were in-

  Figure 2. Framework for gabapentin marketing.



                               Activities with              Territory manager activities
                                    clear
                                promotional
                                   intent
                                                                 Journal advertising



                                                             Patient education/support


                                                                                                                                    Increase physician
                               Activities with                    Medical liaisons
                                                                                                                                      prescribing of
       Marketing                   mixed                                                                                                gabapentin
      strategy and              promotional
                                   intent                     Directly sponsored CME
         tactical
                                                          (e.g., speakers bureau lectures,
        planning
                                                         dinner meetings, teleconferences)


                                                                 Advisory boards/
                                                               consultants meetings


                                                                      Research
                                                             (e.g., major clinical trials,
                                                                                                                                     Dissemination of
                                                                    small studies)
                                                                                                                                         favorable
                              Activities with
                                                                                                                                       messages by
                             hidden or unclear
                                                                                                                                     opinion leaders
                                promotional                          Publications                                                        and local
                                   intent                (e.g., research and review articles,                                           advocates
                                                           medical journal supplements)


                                                                 Educational grants

                                                                                                                                           Monitoring
                                                                 Independent CME                                                        (e.g., prescription
                                                                                                                                             tracking)




In this model, marketing strategy and tactical planning allocate resources to different types of activities. Activities are divided into 3 categories according
to the extent to which their promotional intent is generally known to physicians (for example, in directly sponsored continuing medical education
[CME], the pharmaceutical company is known to be the direct source of funding, but because the event is framed as an educational program, its
promotional intent may be obscured). Each of these activities can directly influence prescribing by practicing physicians. In addition, activities in the
lower half of the figure can also influence prescribing through physician-to-physician communication, in which opinion leaders and local gabapentin
champions are directly or indirectly engaged to communicate favorable messages about gabapentin to their colleagues. Physician prescribing patterns and
other outcomes are then monitored to assess the effectiveness of marketing tactics, which influences future marketing planning decisions. For the sake of
simplicity, other relationships are not shown in this diagram. For example, many marketing tactics can work synergistically, such as the use of research
findings to promote gabapentin in CME settings.
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structed to begin adjunctive gabapentin therapy in their               which were submitted by the plaintiff to support allega-
patients with epilepsy and to keep increasing the dose until           tions of off-label marketing; as a result the view of com-
their patients were seizure-free, or until a maximum dosage            pany practices and decision making is incomplete. Second,
of 3600 mg/d (twice the maximum FDA-approved limit)                    we could not determine the frequency of specific activities,
was achieved (109). More than 700 physicians were en-                  nor in most cases confirm that planned activities and pay-
listed to participate, enrolling an average of 3 patients each         ments were executed. Third, this report is based on pri-
(with a $300 payment for each patient enrolled) (109 –                 mary document review by 1 investigator and collaborative
111). The published report of the study stated that it “ex-            interpretation of the authors, 3 of whom were unpaid ex-
amined the effectiveness of gabapentin” in this dose range             pert witnesses in the litigation that yielded the documents.
(109). However, company documents described the goal of                The reproducibility of our findings has not been estab-
the study as to “teach physicians to titrate Neurontin to              lished. Fourth, we reviewed the marketing practices for a
clinical effect” (112) and “to give neurologists the oppor-            single drug made by a single company, and we do not
tunity to titrate to higher doses (⬎1800 mg) when needed”              know the extent to which these techniques were used in the
(16), central promotional goals at the time (30, 69). De-              marketing of other products made by Parke-Davis or by
scribed as a “key activity” for the implementation and sup-            other pharmaceutical firms. Finally, the litigation focused
port of marketing goals, “indicators of success” for the               not on marketing activities themselves but on whether
study included increases in market share and use of higher             these activities were used to promote unapproved uses (5,
doses of gabapentin (16, 30). At least 6 of 9 authors of the           6). Thus, although certain activities, such as ghostwriting,
published report had substantial financial relationships               violated prevailing ethical norms, many appear to have
with Parke-Davis; they had participated in a total of 263              been legal (or in a broad “gray zone” of legality) when or if
activities sponsored by Parke-Davis between 1993 and                   used solely to promote FDA-approved indications for
1997, with requested or allocated payments ranging from                gabapentin (48, 116, 117).
$11 450 to $69 000 per author (11, 109).                                    There is widespread agreement that commercial inter-
                                                                       ests should not influence the clinical decisions that physi-
DISCUSSION                                                             cians make on behalf of their patients. As a result, a com-
     During the mid- to late 1990s, Parke-Davis used a                 plex system has evolved to help manage these conflicts,
comprehensive campaign to promote prescribing of gaba-                 focused primarily on disclosure and self-regulation by phy-
pentin. Research, publications, and educational programs               sicians, professional organizations, and the pharmaceutical
(including “independent” events) were used as marketing                industry. These efforts have been largely ineffective (118,
opportunities, augmented by opinion leaders and local                  119), and the techniques used to promote gabapentin il-
physician champions to engage their physician colleagues.              lustrate how commercial interests can intrude into the
Since the promotional intent of these activities may not               practice of medicine in both visible and hidden ways. In-
have been widely recognized, their impact on physicians                cremental efforts to strengthen the existing patchwork of
was probably greater than interactions with known com-                 guidelines are unlikely to be sufficient in an environment
mercial intent, which are typically approached with greater            where marketing is so deeply embedded and where the
skepticism (42, 43, 113–115).                                          borders between research, education, and promotion are
     While the limited nature of our source material pre-              more porous than is commonly recognized. New strategies
cludes a definitive understanding of marketing practices,              are needed, including rigorous regulatory oversight, strict
we hypothesize a model for the marketing of gabapentin                 sequestration of commercial and scientific activities, and a
that incorporates our findings (Figure 2). In this model,              fundamental internal reevaluation of the interactions be-
activities with clear promotional intent are known to orig-            tween individual physicians, professional organizations,
inate from a pharmaceutical manufacturer and to serve a                and industry (42, 120 –124).
commercial purpose (thereby disclosing potential commer-
cial bias). In other activities, the promotional underpin-             From San Francisco Veterans Affairs Medical Center and University of
nings may be partially obscured (for example, where fund-              California, San Francisco, San Francisco, California.
ing is known to originate from a drug company, but where
                                                                       Acknowledgment: The authors thank Elizabeth Boyd, PhD, for her
the stated purpose of the event is education) or largely               careful review of the manuscript.
obscured (for example, “independent” activities delivered
through a third party, or funding for research and publi-              Grant Support: By a Veterans Affairs Health Services Research & De-
cation). Many such activities rely on physician-to-physi-              velopment Research Career Development Award (Dr. Steinman); by
cian communication, in which opinion leaders and local                 grants from the California Tobacco-Related Disease Research Programs
                                                                       (13RT-0108) (Dr. Bero), the National Institute of Arthritis and Muscu-
advocates are engaged with speaking, research, and educa-
                                                                       loskeletal and Skin Disease (AR02203) (Dr. Chren), the National Insti-
tional opportunities and in turn may communicate favor-                tute on Aging (AG00912), and the John A. Hartford Foundation (2003–
able messages about the drug to their colleagues.                      0244) (Dr. Landefeld); and by the Health Services Research
     Our work has several limitations. First, our research             Enhancement Award Program at the San Francisco Veterans Affairs
was limited to publicly available documents, many of                   Medical Center.
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Annals of Internal Medicine
Current Author Addresses: Drs. Steinman and Landefeld: San Fran-             tacted and told that the accrediting institution had
cisco Veterans Affairs Medical Center, 4150 Clement Street, Box 181G,        asked that she revise her abstract to remove any specific
San Francisco, CA 94121.                                                     product information that she could not provide refer-
Dr. Bero: University of California, San Francisco, 3333 California Street,
Suite 420, Box 0613, San Francisco, CA 94143.
                                                                             ences for. She then revised her abstract and faxed it
Dr. Chren: San Francisco Veterans Affairs Medical Center, 4150 Clem-         back again for our review. Lisa, the copy writer for the
ent Street, Box 151R, San Francisco, CA 94121.                               Parke-Davis account, was then contacted and asked to
                                                                             make any further revisions.
APPENDIX 1: ANALYSIS           OF THE    PAYMENT REGISTER
                                                                             Although the abstract had been revised, there were still
      The payment register was assembled by the plaintiff ’s attor-
                                                                             concerns on Proworx’s and Vic’s part in regard to Dr.
neys by using data from documents provided by Parke-Davis, in
most cases covering 1993–1997. It was organized by individual                B’s presentation. Her abstract illustrated that [she] was
physicians or institutions, with each payment to that individual,            clearly not planning on presenting what had originally
or activity attended by that individual without evidence of pay-             been agreed upon. Therefore, Proworx immediately
ment, appearing as a separate line in the spreadsheet. We used               looked at what possible options were available, aside
this register to assess payments to physicians of interest whom we           from canceling her talk, to counteract a possible ‘nega-
identified by name in other court documents, such as physicians              tive’ presentation. [The accrediting institution] was
targeted as “thought leaders,” or physicians who moderated tele-             contacted to address accreditation issues and the CDM
conferences on behalf of Parke-Davis. For each physician of in-              [Cline, Davis & Mann, an advertising firm that was the
terest, 1 of the authors reviewed all line-item entries for that             corporate parent of Proworx] account team met with
physician to eliminate duplicate entries. Then, on the basis of              Bina to identify what key issues needed to be presented
limited descriptive information for each line item, funds were               to give attendees a ‘positive message’ to go away with.
classified as “requested” (for example, a letter from a physician
requesting grant support) or “allocated” (for example, an agenda             At this point, Proworx requested that Dr. B. forward a
for an upcoming event with a notation of expected payment). In               copy of her slides for our review. Upon review, we
the absence of contrary evidence, most payments under $2000                  determined that the slides did not include any specific
were considered “allocated” since they usually appeared to be                negative information in regard to Neurontin or anti-
honoraria. However, in most cases we could not definitively con-             convulsants as a whole, and that we should concentrate
firm that physicians participated in or received payment for the             on creating a setting in which she would have no choice
listed activity.                                                             but to address the issue she had originally agreed to
                                                                             present. Therefore, when meeting with the CDM ac-
APPENDIX 2: CONTROL OF CONTENT IN AN                                         count team, pre-written questions were developed to
“INDEPENDENT” PROGRAM: A CASE STUDY                                          address any issues that were not mentioned in Dr. B’s
                                                                             presentation, as well as questions counteracting nega-
     In a letter from the medical education and communications
company Proworx to Parke-Davis (56), the author describes                    tive comments . . . .
working with Parke-Davis on an upcoming satellite symposium
at the American Diabetes Association annual meeting. When em-                It was then decided that the best option, while not
ployees at Proworx became concerned about possible “negative”                crossing over [American Council of Graduate Medical
content at their program, they took corrective action (surnames              Education] guidelines, was to present questions at the
have been removed in the reproduction of this letter):                       Q & A session, which would take place immediately
                                                                             following her presentation. This did indeed lead Dr. B.
      When Proworx finally received each of the abstracts                    to address some of the positive aspects of anticonvul-
      [for talks by two speakers] within the week prior to the               sants and of Neurontin . . . .
      actual program, they were immediately forwarded to
      both Vic and Allen [Parke-Davis marketing employees]                   If this had not been an accredited program, Proworx
      for their comments. Upon receipt of Dr. B’s abstract,                  would have been able to probe the faculty further to
      Vic called Bina [a project director at Proworx] to ex-                 definitively establish program content and make the
      press his concerns. However, Bina had already con-                     appropriate changes and/or recruit an alternative
      tacted [the accrediting institution] to establish what                 speaker.
      could be done, within the accreditation guidelines, to
      address these concerns. At that point, Dr. B. was con-




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